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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA


E.N. BISSO & SONS, INC                           *   CIVIL ACTION No.:2:19-cv-14765
                                                 *
VERSUS                                           *   SECTION “D”
                                                 *
M/V BOUCHARD GIRLS, her tackle,                  *   MAG. DIVISION “3”
furniture, apparel, appurtenances, etc.,         *
in rem; and the                                  *   JUDGE: WENDY B. VITTER
BARGE B. NO. 295, her tackle, furniture,         *
apparel, appurtenances, etc., in rem; and,       *   MAGISTRATE JUDGE:
BOUCHARD TRANSPORTATION CO.                      *   DANA DOUGLAS
INC, in personam                                 *


                   VERIFIED COMPLAINT IN INTERVENTION

       Plaintiff, Boland Marine & Industrial, LLC (“Boland Marine”), a Louisiana

limited liability company, by and through its undersigned counsel, brings this Verified

Complaint in Intervention against: (i) the M/V BOUCHARD GIRLS, her engines, tackle,

apparel, equipment, appurtenances, etc., in rem; (ii) the BARGE B. NO. 295, her engines,

tackle, apparel, equipment, appurtenances, etc., in rem; (iii) Tug Bouchard Girls Corp., in

personam, owner of the M/V BOUCHARD GIRLS; (iv) Barge B. No. 295 Corp., in

personam, owner of the BARGE B. NO. 295 and, (v) Bouchard Transportation Co., Inc.

(“Bouchard Transportation”), in personam, operator and owner of the M/V BOUCHARD

GIRLS, the BARGE B. NO. 295 and respectfully represents that:

                                            I.

                            JURISDICTION AND VENUE

                                            1.

       This Court has jurisdiction pursuant to 28 U.S.C. §1333, 46 U.S.C. §31341, et

seq. and general maritime law. This is an admiralty and maritime claim within the



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meaning of Rule 9(h) of the Federal Rules of Civil Procedure and Rules C and E of the

Supplemental Rules of Certain Admiralty and Maritime claims of the Federal Rules of

Civil Procedure.

                                            2.

       Venue is proper pursuant to 28 U.S.C. §1391(b).

                                            II.

                                          PARTIES

                                            3.

       Boland Marine is a Louisiana limited liability company with its principal place of

business in Orleans Parish, Louisiana and provides berthing/dockage, security, vessel

repairs, equipment, labor, maintenance, other services and vessel parts to commercial

customers and vessels at various locations in the Gulf South including the Perry Street

Wharf and the Poland Avenue Wharf in the Port of New Orleans.

                                            4.

       The defendants are:

       (a) M/V BOUCHARD GIRLS, her engines, tackle, apparel, equipment,

            appurtenances, etc., in rem, a United States flagged vessel which is and will

            be afloat upon the navigable waters of the United States and within the

            jurisdiction of this Court;

       (b) Tug Bouchard Girls Corp., in personam, a New York business entity which

            conducts business in the State of Louisiana and is the owner of the M/V

            DONNA J. BOUCHARD,




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        (c) BARGE B. NO. 295, her engines, tackle, apparel, equipment, appurtenances,

            etc., in rem, a United States flagged vessel which is and will be afloat upon

            the navigable waters of the United States and within the jurisdiction of this

            Court;

        (d) Barge B. No. 295 Corp., in personam, a New York business entity which

            conducts business in the State of Louisiana and is the owner of the BARGE

            B. NO. 295; and,

        (e) Bouchard Transportation Co., Inc., in personam, a New York business entity

and operator and owner of the in rem defendants listed immediately.

                                           III.

                     BOUCHARD TRANSPORTATION VESSELS

                                            4.

        At all times pertinent, the M/V BOUCHARD GIRLS and the BARGE B. NO. 295

were paired and operated together by Bouchard Transportation as an articulated tug/barge

unit.

                                           IV.

                                   IN REM CLAIMS

                                            5.

        Pursuant to multiple requests by defendant Bouchard Transportation which

included agreed pricing, Boland Marine provided berthing/dockage, security, labor,

materials, equipment, repairs and other related services (collectively hereafter “work”) to

the M/V BOUCHARD GIRLS and BARGE B. NO. 295 while docked at the Perry Street




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Wharf in the Port of New Orleans in the principal amount of $217,000.00. See attached

Exhibit “A” incorporated herein and made part hereof.

                                           6.

       Boland Marine provided the above-described work for the benefit of the M/V

BOUCHARD GIRLS and the BARGE B. NO. 295, all of which was performed by

Boland Marine in a good and workmanlike manner and accepted and utilized by the

defendants.

                                           7.

       Pursuant to the parties’ agreement and course of dealing, Boland Marine provided

Bouchard Transportation with its invoices (Exhibit “A”) for its work to the M/V

BOUCHARD GIRLS and BARGE B. NO. 295, in the principal amount of $217,000.00,

which, despite amicable demand, and in breach of the parties’ contract, remains unpaid.

                                           8.

       The provision of the above-described work by Boland Marine gives rise to a

maritime lien against the M/V BOUCHARD GIRLS and BARGE B. NO. 295 pursuant to

general maritime law and 46 U.S.C. §§ 31341, et seq.

                                           9.

       In the alternative, Boland Marine is entitled to recognition of its maritime lien

under equitable quasi-contract principles including the doctrine of quantum meruit and

unjust enrichment in the amounts set forth above.




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                                             V.

                                IN PERSONAM CLAIMS

                                             10.

       The work and invoices by Boland Marine, as set forth in Paragraphs 5-7 above

and on the attached Exhibit “A,” constitutes a maritime contract(s), or in the alternative,

an open account, which the defendants breached by failing to pay Boland Marine.

                                             11.

       Based on the defendants’ breach and non-payment, Boland Marine is entitled to

recovery against all the in personam defendants, jointly, severally and solidarily, in the

principal amount of $217,000.00, interest at the rate of 1.5% per month, all costs of these

proceedings and reasonable attorneys fees.

                                             12.

       In the alternative, Boland Marine is entitled to recovery against the in personam

defendants jointly, severally and solidarily, in the principal amount of $217,000.00,

interest at the rate of 1.5% per month, all costs of these proceedings and reasonable

attorneys fees under equitable quasi-contract principles including the doctrine of quantum

meruit or unjust enrichment.

                                             13.

       All and singular, the premises and allegations in this Verified Complaint in

Intervention are true and correct and within the admiralty and maritime jurisdiction of the

United States and this Court.

       WHEREFORE, Boland Marine prays:




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       1. That process in due form of law according to the rules and practices of this

Court, in causes of admiralty and maritime jurisdiction, may issue against the:

       (a) M/V BOUCHARD GIRLS, her engines, tackle, apparel, equipment,

appurtenances, etc., in rem, and that all persons having or claiming an interest therein

may cited to appear and answer, the matters aforesaid; and,

       (b) BARGE B. NO. 295, her engines, tackle, apparel, equipment, appurtenances,

etc., in rem, and that all persons having or claiming an interest therein may cited to

appear and answer, the matters aforesaid;

       2. That this Court enter a judgment in Boland Marine’s favor in the principal

amount of $217,000.00, together with interest and costs, and that the vessels described

above, and their respective engines, tackle, apparel, equipment, appurtenances, etc., in

rem, be condemned and sold to satisfy said judgment in preference and priority to all

other claimants;

       3. That this Court enter a judgment in Boland Marine’s favor in the principal

amount of $217,000.00, together with interest thereon, costs and reasonable attorneys

fees against the in personam defendants, Bouchard Transportation, Tug Bouchard Girls

Corp. and Barge B. No. 295 Corp., jointly, severally and solidarily.

       4. That Bouchard Transportation be cited to answer and appear, and that after due

proceedings are had, Boland Marine may have judgment against Bouchard

Transportation, Tug Bouchard Girls Corp. and Barge B. No. 295 Corp., jointly, severally

and solidarily, for the amount of any deficiency, plus any other sums and interest, costs

and attorney’s fees; and,




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       8. For all other general and equitable relief including the doctrine of quantum

meruit or unjust enrichment as this Court deems just and proper.



                                      Respectfully submitted:

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                                      INDUSTRIAL, LLC

                                      and

                                      COUHIG PARTNERS, LLC
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                                      INDUSTRIAL, LLC


                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing has this date been served on

all counsel of record in this proceeding by:



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( ) Hand Delivery             ( ) Prepaid U.S. Mail
( ) Facsimile                ( ) Federal Express
( ) Electronic Mail          (x) CMF/ECF

New Orleans, Louisiana this 10th day of January 2020.


                                    /s/ Cary A. Des Roches
                                    CARY A. DES ROCHES




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